               Case 23-258, Document 181, 10/10/2023, 3579440, Page1 of 1




                        UNITED STATES COURT OF APPEALS
                                   FOR THE
                                SECOND CIRCUIT

       At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
10th day of October, two thousand twenty-three.

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 Fiona Havlish, et al.,

                Plaintiffs - Appellants,            ORDER
 v.
                                                    Docket Nos. 23-258(L), 23-263(CON),
 The Islamic Emirate of Afghanistan, The            23-304(CON), 23-346(CON), 23-444(CON)
 Taliban, Al Qaida/Islamic Army, Sheikh
 Usamah Bin-Muhammad Bin-Laden, AKA
 Osama Bin-Laden, Republic of Iraq,

                Defendants - Appellees,

 Federal Reserve Bank of New York,

                Garnishee-Interested-Party,

 Sheikh Usama Bin-Laden, et al.,

           Defendants.
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          Unfreeze Afghanistan and Naseer A. Faiq separately move for leave to file amicus curiae
briefs.

       IT IS HEREBY ORDERED that the motions are REFERRED to the panel that will
determine the merits of this appeal.

                                                     For the Court:
                                                     Catherine O’Hagan Wolfe,
                                                     Clerk of Court
